         Case 1:19-mc-00145-TSC Document 151 Filed 07/15/20 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


   In the Matter of the Federal Bureau of Prisons’
   Execution Protocol Cases,

   LEAD CASE: Roane et al. v. Barr

   THIS DOCUMENT RELATES TO:                                   Case No. 19-mc-0145 (TSC)

   Lee, No. 19-cv-2559


             EMERGENCY MOTION FOR PRESERVATION OF EVIDENCE

       Counsel for Plaintiff Daniel Lee respectfully requests an emergency order from this Court

directing the staff at the Vigo County Coroner’s Office, and anyone acting on their behalf or on

behalf of the Bureau of Prisons (BOP), to immediately preserve all physical evidence related to

the body of Daniel Lee.

       1. According to Federal Rule of Civil Procedure 26(d)(1), “[a] party may not seek

discovery from any source before the parties have conferred as required by Rule 26(f), except in

a proceeding exempted from initial disclosure under Rule 26(a)(1)(B), or when authorized by

these rules, by stipulation, or by court order.”

       Under Federal Rule of Civil Procedure 35(a), “[t]he court where the action is pending

may order a party whose mental or physical condition—including blood group—is in

controversy to submit to a physical or mental examination by a suitably licensed or certified

examiner. The court has the same authority to order a party to produce for examination a person

who is in its custody or under its legal control.” Fed. R. Civ. P. 35(a) (emphasis added).

       This Court has the authority to order autopsies under Rule 35. E.g., Belkow v. Celotex

Corp., No. 89 C 3049, 1989 WL 56976, at *2 (N.D. Ill. May 22, 1989) (“This court concurs with




                                                   1
        Case 1:19-mc-00145-TSC Document 151 Filed 07/15/20 Page 2 of 4




the analysis set forth in In re Certain Asbestos Cases, 112 F.R.D. 427, 432–433 (N.D. Tex. 1986),

that upon proper showing Rule 35(a) permits the court to order an autopsy.”); Order at 2,

McGehee v. Hutchinson, No. 17-cv-179 (E.D. Ark. April 28, 2017). Such an order “may be

made only on motion for good cause and on notice to all parties and the person to be examined,”

and “must specify the time, place, manner, conditions, and scope of the examination, as well as

the person or persons who will perform it.” Fed. R. Civ. P. 35(a)(2).

       2. Pursuant to that authority, counsel requests that this Court order the Vigo County

Coroner to do the following, if the Coroner conducts an autopsy of Lee’s body: Collect evidence

related to pulmonary edema and issues inserting Lee’s intravenous line, including that the

Coroner or Medical Examiner:

      weigh the lungs;

      perform a thorough examination and documentation of any fluid present in the large or
       small airways, or mouth or nose;

      identify the IV site(s), note if the catheter was placed intravascularly, and note any
       extravasation of fluid around the IV;

      note any signs of multiple IV attempts.

Counsel respectfully requests that the Coroner or Medical Examiner be directed to do so before

12:00 p.m. July 16, 2020. See AR1026 (“[t]he Warden will contact the Vigo County Coroner to

coordinate the Coroner’s Role” and “custody of the body of the executed individual” shall be

transferred “from the Warden to the Vigo County Coroner”), 1042 (“[t]he body will be removed

by the Vigo County Coroner”). The Coroner should also be directed to preserve tissues from the

brain, liver, and muscle from a location other than from the leg or arm where the IV was set.

       3. Good cause exists for that order. Upon information and belief, Daniel Lee remained

strapped to the gurney with his IV lines in place for over four hours prior to his execution.

Media accounts of his death report that Lee “remained strapped to the gurney for about four


                                                 2
         Case 1:19-mc-00145-TSC Document 151 Filed 07/15/20 Page 3 of 4




hours” prior to his death. Tim Evans & Holly V. Hays, ‘You’re killing an innocent man’: Daniel

Lewis   Lee    executed   in   Terre   Haute   federal   prison,   IndyStar   (July   14,   2020),

https://bit.ly/3gQYeNA. After the drug was administered, Lee “mumbled to himself” and “his

chest continued to rise and fall.” Elisha Fieldstadt & The Associated Press, First federal

execution in 17 years carried out in Indiana after Supreme Court cleared way, NBC News (July

14, 2020), https://nbcnews.to/3ftqC81. Lee’s “lips moved like he was blowing bubbles, but

nothing came out.” Evans & Hays, supra.         He also “continued to move his hands and feet

periodically” and, at one point, “raised his head and looked around.” Lisa Trigg, U.S. executes

Daniel Lewis Lee, at Terre Haute prison, first in 17 years, Tribune-Star (July 14, 2020),

https://bit.ly/3ewYsaW. As one witness explained, he “seemed to hang onto life for a few

minutes.” Time Evans, Twitter.com (July 14, 2020), https://bit.ly/30bVyU2.            Other media

outlets have likewise reported that “[a]s the drug was being administered, Lee raised his head to

look around, and his breathing appeared to become labored.” Jonathan Allen & Sarah N. Lynch,

U.S. carries out first execution in 17 years after overnight Supreme Court ruling, Reuters (July

14, 2020, 8:59am), https://reut.rs/2C2Mf0N. Soon after, “his lips turned blue and his fingers

became ashy.” Id.

        Although more information is not yet available, these and other reports suggest that Lee

may have experienced flash pulmonary edema or other complications associated with his

execution.

        Dr. Van Norman, an expert for Plaintiffs, has explained that these samples will be highly

relevant to the issues presented in this action; namely, determining whether Lee suffered flash

pulmonary edema while sensate and alive. Dr. Van Norman has previously relied on autopsy

results in evaluating the likelihood that an inmate would experience flash pulmonary edema after




                                                3
        Case 1:19-mc-00145-TSC Document 151 Filed 07/15/20 Page 4 of 4




being executed with a single-drug pentobarbital protocol. See ECF # 24, App. III. These issues

can be exacerbated by improper placement of the intravenous line, among other things. Id. at 53.

       4. This emergency motion is not meant to encompass all preservation requests that should

be made; it should supplement the Medical Examiner's normal practice. Plaintiffs may need to

supplement this request at a later time.

       Because time is of the essence of this motion the movant asks that this Court foreshorten

the response time of the Defendants and rule on this motion with haste.

                                           CONCLUSION

       For the foregoing reasons, the Court should immediately issue an emergency order for

preservation of evidence.


Dated: July 15, 2020                               /s/ Pieter Van Tol
                                                   Pieter Van Tol (admitted pro hac vice)
                                                   Hogan Lovells US LLP
                                                   390 Madison Avenue
                                                   New York, NY 10017
                                                   (212) 918-3000
                                                   (212) 918-3100 (fax)
                                                   pieter.vantol@hoganlovells.com

                                                   David S. Victorson (Bar No. 1027025)
                                                   Kathryn Marshall Ali (Bar No. 994633)
                                                   Danielle Stempel* (admitted pro hac vice)
                                                   Hogan Lovells US LLP
                                                   555 13th Street NW
                                                   Washington, DC 20004
                                                   (202) 637-5600
                                                   (202) 637-5910 (fax)
                                                   david.victorson@hoganlovells.com
                                                   kathryn.ali@hoganlovells.com
                                                   danielle.stempel@hoganlovells.com
                                                   *
                                                    Admitted only in Maryland; practice
                                                   supervised by principals admitted in D.C.

                                                   Counsel for Plaintiff Daniel Lewis Lee



                                               4
       Case 1:19-mc-00145-TSC Document 151-1 Filed 07/15/20 Page 1 of 5




                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all counsel of record. The names marked with an asterisk (*)

have no email provided on the docket or are no longer with the identified firms.

Alan Burch                                       Paul R. Perkins
U.S. Attorney’s Office for the District of       Civil Division, Department of Justice
Columbia                                         (202) 514-5090
(202) 252-2550                                   Email: Paul.R.Perkins@usdoj.gov
Email: alan.burch@usdoj.gov
                                                 Jonathan Kossak
Peter S. Smith                                   Civil Division, Department of Justice
United States Attorney's Office                  (202) 305-0612
Appellate Division                               Email: Jonathan.kossak@usdoj.gov
(202) 252-6769
Email: peter.smith@usdoj.gov                     Denise M. Clark
                                                 U.S. Attorney’s Office for the District of
Ethan P. Davis                                   Columbia
Civil Division, U.S. Department of Justice       (202) 252-6605
(202) 514-7830                                   Email: Denise.Clark@usdoj.gov
Email: Ethan.P.Davis@usdoj.gov
                                                 Jean Lin
Robert J. Erickson                               Civil Division, Department of Justice
US Department of Justice                         (202) 514-3716
(202) 514-2841                                   Jean.lin@usdoj.gov
Email: Robert.erickson@usdoj.gov
                                                 Cristen Cori Handley
Joshua Christopher Toll                          Civil Division, Department of Justice
KING & SPALDING LLP                              (202) 305-2677
(202) 737-8616                                   Cristen.Handley@usdoj.gov
Email: jtoll@kslaw.com
                                                 Paul F. Enzinna
Charles Anthony Zdebski                          ELLERMAN ENZINNA PLLC
ECKERT SEAMANS CHERIN &                          (202) 753-5553
MELLOTT, LLC                                     Email: penzinna@ellermanenzinna.com
(202) 659-6605
Email: czdebski@eckertseamans.com                Brandon David Almond
                                                 TROUTMAN SANDERS LLP
Gerald Wesley King, Jr.                          (202) 274-2864
FEDERAL DEFENDER PROGRAM, INC.                   Email: brandon.almond@troutmansanders.com
(404) 688-7530
Email: gerald_king@fd.org
      Case 1:19-mc-00145-TSC Document 151-1 Filed 07/15/20 Page 2 of 5




Charles Fredrick Walker              Donald P. Salzman
SKADDEN, ARPS, SLATE, MEAGHER &      SKADDEN, ARPS, SLATE, MEAGHER &
FLOM LLP                             FLOM LLP
(202) 371-7000                       (202) 371-7983
Email: Charles.Walker@skadden.com    Email: Donald.salzman@skadden.com

Celeste Bacchi                       Steven M. Albertson
OFFICE OF THE PUBLIC DEFENDER        SKADDEN, ARPS, SLATE, MEAGHER &
Capital Habeas Unit                  FLOM LLP
(213) 894-1887                       (202) 371-7112
Email: celeste_bacchi@fd.org         Email: Steven.Albertson@skadden.com

Jonathan Charles Aminoff             Craig Anthony Harbaugh
FEDERAL PUBLIC DEFENDER,             FEDERAL PUBLIC DEFENDER, CENTRAL
CENTRAL DISTRICT OF CALIFORNIA       DISTRICT OF CALIFORNIA
(213) 894-5374                       (213) 894-7865
Email: jonathan_aminoff@fd.org       Email: craig_harbaugh@fd.org

Billy H. Nolas                       Alexander Louis Kursman
FEDERAL COMMUNITY DEFENDER           OFFICE OF THE FEDERAL COMMUNITY
OFFICE FOR THE EDPA                  DEFENDER/EDPA
(215) 928-0520                       (215) 928-0520
Email: Billy_Nolas@fd.org            Email: Alex_Kursman@fd.org

*Jeanne Vosberg Sourgens             Kathryn B. Codd
VINSON & ELKINS LLP                  VINSON & ELKINS LLP
(202) 639-6633                       (202) 639-6536
                                     Email: kcodd@velaw.com
William E. Lawler, III
VINSON & ELKINS LLP                  Robert E. Waters
(202) 639-6676                       VINSON & ELKINS, L.L.P.(202) 737-0500
Email: wlawler@velaw.com             Email: rwaters@velaw.com

Evan D. Miller                       Yousri H. Omar
VINSON & ELKINS LLP                  VINSON & ELKINS LLP
(202) 639-6605                       (202) 639-6500
Email: EMiller@velaw.com             Email: yomar@velaw.com

Margaret O’Donnell                   *William E. Hoffman, Jr.
(502) 320-1837                       KING & SPALDING LLP
Email: mod@dcr.net                   (404) 572-3383

Abigail Bortnick                     Mark Joseph Hulkower
KING & SPALDING LLP                  STEPTOE & JOHNSON LLP
(202) 626-5502                       (202) 429-6221
Email: abortnick@kslaw.com           Email: mhulkower@steptoe.com
      Case 1:19-mc-00145-TSC Document 151-1 Filed 07/15/20 Page 3 of 5




Matthew John Herrington                   Robert A. Ayers
STEPTOE & JOHNSON LLP                     STEPTOE & JOHNSON LLP
(202) 429-8164                            (202) 429-6401
Email: mherrington@steptoe.com            Email: rayers@steptoe.com

Amy J. Lentz                              Robert L. McGlasson
STEPTOE & JOHNSON LLP                     MCGLASSON & ASSOCIATES, PC
(202) 429-1320                            (404) 314-7664
Email: Alentz@steptoe.com                 Email: rlmcglasson@comcast.net

Gary E. Proctor                           Sean D. O’Brien
LAW OFFICES OF GARY E. PROCTOR,           PUBLIC INTEREST LITIGATION CLINIC
LLC                                       (816) 363-2795
(410) 444-1500                            Email: dplc@dplclinic.com
Email: garyeproctor@gmail.com
                                          Shawn Nolan
Scott Wilson Braden                       FEDERAL COMMUNITY DEFENDER
FEDERAL PUBLIC DEFENDER,                  OFFICE, EDPA
EASTERN DISTRICT OF ARKANSAS              (215) 928-0520
(501) 324-6144                            Email: shawn.nolan@fd.org
Email: Scott_Braden@fd.org
                                          Joseph William Luby
Amy Gershenfeld Donnella                  FEDERAL PUBLIC DEFENDER/EDPA
FEDERAL COMMUNITY DEFENDER                (215) 928-0520
OFFICE FOR THE EDPA                       Email: joseph_luby@fd.org
(215) 928-0520
Email: amy_donnella@fd.org                Pieter Van Tol
                                          HOGAN LOVELLS US LLP
David Victorson                           (212) 918-3000
(202) 637-5600                            Email: Pieter.Vantol@hoganlovells.com
HOGAN LOVELLS US LLP
Email: David.Victorson@hoganlovells.com   Jonathan Jeffress
                                          KAISER DILLON, PLLC
John D. Beck                              (202) 640-2850
HOGAN LOVELLS US LLP                      Email: Jjeffress@kaiserdillon.com
(212) 918-3000
Email: john.beck@hoganlovells.com         Andrew Moshos
                                          MORRIS NICHOLS ARSHT & TUNNELL
Amelia J. Schmidt                         LLP
KAISER DILLON, PLLC                       (302) 351-9197
(202) 869-1301                            Email: Amoshos@mnat.com
Email: Aschmidt@kaiserdillon.com
      Case 1:19-mc-00145-TSC Document 151-1 Filed 07/15/20 Page 4 of 5




Norman Anderson                        Alan E. Schoenfeld
KAISER DILLON PLLC                     WILMER CUTLER PICKERING HALE &
(202) 640-2850                         DORR LLP
Email: nanderson@kaiserdillon.com      (212) 937-7294
                                       Email: Alan.Schoenfeld@wilmerhale.com
Jennifer Ying
MORRIS NICHOLS ARSHT & TUNNELL         Kathryn Louise Clune
LLP                                    CROWELL & MORING LLP
(302) 658-9300                         (202) 624-5116
Email: Jying@mnat.com                  Email: kclune@crowell.com

Andres C. Salinas                      Jennifer M. Moreno
WILMER CUTLER PICKERING HALE &         OFFICE OF THE PUBLIC FEDERAL
DORR LLP                               DEFENDER, DISTRICT OF ARIZONA
(202) 663-6289                         (602) 382-2718
Email: Andres.Salinas@wilmerhale.com   Email: Jennifer_moreno@fd.org

*Ryan M. Chabot                        Ginger Dawn Anders
WILMER CUTLER PICKERING HALE &         MUNGER, TOLLES & OLSON LLP
DORR LLP                               (202) 220-1107
(212) 295-6513                         Email: Ginger.anders@mto.com
Email: Ryan.Chabot@wilmerhale.com
                                       *Jonathan S. Meltzer
Dale Andrew Baich                      MUNGER, TOLLES & OLSON LLP
OFFICE OF THE FEDERAL PUBLIC           (202) 220-1100
DEFENDER
(602) 382-2816                         *Brendan Gants
Email: Dale_Baich@fd.org               MUNGER, TOLLES & OLSON LLP
                                       (202) 220-1100
Harry P. Cohen
CROWELL & MORING LLP                   *Timothy Kane
(212) 223-4000                         FEDERAL COMMUNITY DEFENDER
Email: hcohen@crowell.com              OFFICE, EDPA
                                       (215) 925-0520
Michael K. Robles
CROWELL & MORING LLP                   Jeffrey Lyn Ertel
(212) 223-4000                         FEDERAL DEFENDER PROGRAM, INC.
Email: mrobles@crowell.com             (303) 688-7530
                                       Email: Jeff_Ertel@fd.org
James Stronski
CROWELL & MORING LLP                   Stephen Northup
(212) 223-4000                         TROUTMAN SANDERS LLP
Email: jstronski@crowell.com           (804) 697-1240
                                       Email: steve.northup@troutmansanders.com
     Case 1:19-mc-00145-TSC Document 151-1 Filed 07/15/20 Page 5 of 5




*Jon M. Sands                        Danielle Desaulniers Stempel
OFFICE OF THE PUBLIC FEDERAL         HOGAN LOVELLS US LLP
DEFENDER, DISTRICT OF ARIZONA        (202) 804-7798
(602) 382-2816                       Email: danielle.stempel@hoganlovells.com

*Amy Karlin
INTERIM FEDERAL PUBLIC DEFENDER
(213) 894-2854


                                  /s/ Pieter Van Tol
                                  Pieter Van Tol (admitted pro hac vice)
       Case 1:19-mc-00145-TSC Document 151-2 Filed 07/15/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


   In the Matter of the Federal Bureau of Prisons’
   Execution Protocol Cases,

   LEAD CASE: Roane et al. v. Barr

   THIS DOCUMENT RELATES TO:                                   Case No. 19-mc-0145 (TSC)

   Lee, No. 19-cv-2559


              [PROPOSED ORDER] GRANTING EMERGENCY MOTION
                      FOR PRESERVATION OF EVIDENCE

       This matter came before the Court on an Emergency Motion for Preservation of

Evidence (the “Motion”). Having considered the Motion, the Motion is GRANTED, and it is

hereby ORDERED that, if an autopsy is or has been conducted of Daniel Lewis Lee by the Vigo

County Coroner (or other Coroner/Medical Examiner), then the Coroner shall do the following

by 12:00 p.m. on July 16, 2020:

          Collect evidence related to pulmonary edema and issues inserting Lee’s intravenous
           line, including that the Coroner or Medical Examiner:

              o weigh the lungs;

              o perform a thorough examination and documentation of any fluid present in the
                large or small airways, or mouth or nose;

              o identify the IV site(s), note if the catheter was placed intravascularly, and note
                any extravasation of fluid around the IV;

              o note any signs of multiple IV attempts.

          Preserve tissues from the brain, liver, and muscle from a location other than from the
           leg or arm where the IV was set.


Dated: July ____, 2020                               ______________________
                                                     The Honorable Judge Tanya S. Chutkan
